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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________ ___________________________________
                                          :
APOTEX, INC.,                             :      CIVIL ACTION
                  Plaintiff,              :
                                          :
            v.                            :      No. 2:06-cv-2768
                                          :
CEPHALON, INC., et al.,                   :
                  Defendants.             :
__________________________________________:___________________________________
                                          :
GIANT EAGLE, INC.,                        :      CIVIL ACTION
                  Plaintiff,              :
                                          :
            v.                            :      No. 2:10-cv-5164
                                          :
CEPHALON, INC., et al.,                   :
                  Defendants.             :
__________________________________________:___________________________________
                                          :
WALGREEN CO., et al.,                     :      CIVIL ACTION
                  Plaintiffs,             :
                                          :
            v.                            :      No. 2:09-cv-3956
                                          :
CEPHALON, INC., et al.,                   :
                  Defendants.             :
__________________________________________:___________________________________
                                          :
RITE AID CORPORATION, et al.,             :      CIVIL ACTION
                  Plaintiffs,             :
                                          :
            v.                            :      No. 2:09-cv-3820
                                          :
CEPHALON, INC., et al.,                   :
                  Defendants.             :
__________________________________________:___________________________________




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                                              ORDER

       AND NOW, this 8th day of June, 2017, in accordance with the accompanying

Memorandum Opinion, it is hereby ORDERED that the liability portion of the upcoming trial

will be divided into two phases. The first phase will involve only proofs regarding the alleged

antitrust violations under the rule of reason. If the jury answers the violation questions in

Plaintiffs’ favor, a second phase involving causation and injury will commence.

       It is further ORDERED that only during the second causation/injury phase will the jury

be informed that the relevant patent was invalidated in a proceeding which occurred after the

challenged settlement agreements were executed. If the second phase occurs, the Court will

accept the parties’ input on how to instruct the jury regarding the prior patent ruling.



                                                              BY THE COURT:

                                                              /s/ Mitchell S. Goldberg
                                                              ______________________________
                                                              Mitchell S. Goldberg, J.




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